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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                            CASE NO. 1:04-cr-00006-MP -AK

STEPHEN DUNLAP,

       Defendant.

_____________________________/

                                           ORDER

       This matter is before the Court on Doc. 824, Motion for "Writ of Error Coram Vobis"

filed by Defendant Stephen Dunlap. In the motion, Mr. Dunlap argues that the Court, at

sentencing, improperly counted several prior offenses as separate offenses when they should

have been considered one common scheme. This is allegedly affecting his classification and

eligibility for certain programs. The government filed a response, Doc. 826, to which Mr.

Dunlap replied at Doc. 828.

       The offenses described in paragraphs 69, 70, 71, 72, 73 and 74 of the Presentence Report

did not occur on a single occasion, were not part of a single common scheme or plan, and were

not consolidated for sentencing, even though they were sentenced on the same day. Thus, under

the 2003 version of the Sentencing Guidelines, they were properly counted separately, and even

if a writ of coram vobis were an appropriate procedural remedy, it would not be appropriate on

the merits.

       Also, to the extent that the reply at Doc. 828 attempts to raise claims that should be raised

by a motion under 28 U.S.C. § 2255, those claims are denied. If Mr. Dunlap intends to bring a
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motion under § 2255, he must do so explicitly, on the correct forms and subject to the procedural

rules governing such motions. Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        The motion at Doc. 824 and any motion raised by Doc. 828 are DENIED.

        DONE AND ORDERED this 17th day of May, 2011


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge




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